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Case 1:22-cr-O0096-CKK Document 342-1 Filed 08/05/23 Page 1 of 13

SUPERIOR COURT OF THE DISTRICT OF COLUMBIA
Civil Division

PHILIP CHARLAND, Individually, and as

Personal Representative of the Estate of

REBECCA CAREY CHARLAND, deceased, and

as Father and Next Friend to M.M.C. and P.D.C., Minors
14773 Keavy Ridge Court

Haymarket, VA 20169

Plaintiff,

0004244=44

v. Civil Action No.
WASHINGTON SURGI-CLINIC, INC.
Serve R/A: Cesare F. Santangelo, M.D.

2112 F. Street, N.W.

Suite 400/401

Washington, DC 20037

And

CESARE F. SANTANGELO, M.D.
Washington Surgi-Clinic, Inc.

2112 F. Street, N.W., #400/401
Washington, DC 20037

And ,
FL
CHERYL V. LYNCH, CRNA CIVIL ACTIONS GRANGE
2400 Riverview Drive, #295
Colonial Beach, VA 22443 MAY 27 2011
. Spiel Goust
of the District of Coleanban

Defendants. Washington, DC.

COMPLAINT

(Medical Negligence — Wrongful Death — Survival)

COUNT 1
(Survival Action Claim)

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Case 1:22-cr-O0096-CKK Document 342-1 Filed 08/05/23 Page 2 of 13

l. Jurisdiction of this Court is founded on District of Columbia Code Section
11-921 (2001.Ed.)

2. Plaintiff, Philip Charland, is of full age, a citizen of the United States and
a resident of the Commonwealth of Virginia. On or about July 20, 2010, Plaintiff was
appointed Personal Representative of the Estate of Rebecca Carey Charland, deceased,
Court File No. W-13564 by the Clerk of the Court for Prince William County Circuit
Court, Virginia.

3. At all times relevant hereto, plaintiff Philip Charland was lawfully married
to decedent Rebecca Carey Charland. M.M.C. and P.D.C. are the biological minor
children of decedent Rebecca Carey Charland and plaintiff Philip Charland.

4, At all times relevant hereto, defendant Washington Surgi-Clinic, Inc., was
a District of Columbia corporation, a medical business entity specializing in the field of
obstetrics and gynecology, and providing healthcare services, through it employees and
real and/or ostensible agents, to individuals in need thereof, including decedent Rebecca
Carey Charland.

5. At all times relevant hereto, defendant Cesare F. Santangelo, M.D., was a
physician practicing in the field obstetrics and gynecology, and at all times relevant
herein was duly licensed in the District of Columbia to provide healthcare services to
persons in need thereof, including decedent Rebecca Cary Charland. Dr. Santangelo is
sued individually and as an employee and real and/or ostensible agent of, and was acting

within the scope of his employment and/or agency with, defendant Washington Surgi-

Clinic, Inc.
Case 1:22-cr-O0096-CKK Document 342-1 Filed 08/05/23 Page 3 of 13

6. At all times relevant hereto, defendant Cheryl V. Lynch, CRNA, was a
nurse anesthetist licensed to practice in D.C. and Virginia. Upon information and belief,
Cheryl V. Lynch, CRNA is a resident of Virginia, Nurse Lynch is sued individually and
as an employee and real and/or ostensible agent of, and was acting in the scope of her

employment and/or agency with defendant Washington Surgi-Clini, Inc.

7. At all times relevant hereto, defendants held themselves out to the public

as healthcare providers who would render reasonably competent treatment to those who

came under their professional care.

8. Plaintiff's decedent Rebecca Carey Charland received obstetrical care and

treatment for her pregnancy from Supriya Varma, M.D. in Reston, VA.

9, Plaintiff's decedent Rebecca Carey Charland was a high risk pregnancy

with her condition of antiphospholipid syndrome and required Lovenox and aspirin.

10... On or about May 17, 2010 plaintiff's decedent Rebecca Carey Charland
underwent an ultrasound which showed intra-uterine fetal demise. The gestational age of
the fetus by last menstrual period was 20 2/7 weeks. On ultrasound the fetus’s size was

consistent with 16-17 weeks gestational age. Plaintiff's decedent discontinued her use of

Lovenox and aspirin at that time.

11. On or about May 18, 2010 plaintiff's decedent Rebecca Carey Charland
was referred by Dr. Varma to defendant Dr. Santangelo to undergo a dilatation and

evacuation (D&E) procedure at his outpatient clinic.

12. On or about May 19, 2010 plaintiff Philip Charland and plaintiff's
decedent Rebecca Carey Charland had an appointment with defendant Dr. Santangelo at

Washington Surgi-Clinic, Inc., in Washington, D.C., during which time the procedure
Case 1:22-cr-Q0096-CKK Document 342-1 Filed Q8/05/23 Page 4 of 13

was discussed and the first stage initiated with the insertion of the laminaria sticks. An
appointment was made for May 20, 2010 for the procedure to be completed.

13. On or about that same date defendant Dr. Santangelo was aware of
plaintiff's decedent’s antiphospholipid syndrome, her use of Lovenox and baby aspirin
until 5/17/10, and that the ultrasound showed a fetus consistent with 16-17 weeks
gestational age despite the gestational age by LMP was 20 2/7 weeks, indicating the fetus
may have been deceased for 2+ weeks.

14. On or about May 20, 2010 plaintiff and plaintiff's decedent arrived for
their appointment at defendant Washington Surgi-Clinic, Inc. Plaintiff's decedent was
examined and the dilatation was determined not to be sufficient so additional laminaria
sticks were inserted and she was told to return to the clinic later that day.

15. Plaintiff and plaintiff's decedent returned to defendant Washington Surgi-
Clinic a couple of hours later and were told to wait for defendant Dr. Santangelo to return
to the clinic.

16. On that same day, while waiting in the clinic, plaintiff's decedent Rebecca
Carey Charland began complaining of abdominal pain.

17. At approximately 1438 the D&E procedure was performed by defendant
Dr. Santangelo. Plaintiff's decedent’s blood pressure was documented at that time as
approximately 138/90 and her pulse as approximately 95.

18. During the procedure being performed by defendant Dr. Santangelo

plaintiff's decedent Rebecca Carey Charland’s oxygen saturation levels decreased and

she became cyanotic. This was documented in the Anesthesia Record as occurring at
Case 1:22-c1-O(GRE-CKKK Document 342-1 Filed “oO Page 5 of 13

approximately 1445. The plaintiffs decedent’s blood pressure was recorded as
approximately 120/70 and her pulse as approximately 100.

19. Plaintiff's decedent was intubated at or around 1449. Her blood pressure
was recorded as approximately 100/58 and her pulse as approximately 70.

20. Plaintiff's decedent was given epinephrine, atropine, and bicarb.

21. At approximately 1458 911 was called.

22. At approximately 1503 D. C. Fire and Rescue arrived at defendant
Washington Surgi-Clinic and found plaintiff's decedent to be pulseless and profoundly
cyanotic with purple demarcation line from the nipple line up. CPR was initiated and
after 1 minute of CPR plaintiff's decedent’s color improved, torso, face, and extremities

pink and pupils became PEARL.

23. At approximately 1512 plaintiff's decedent became pulseless and required

defibrillation.

24. At approximately 1525 plaintiff's decedent Rebecca Carey Charland was
transported by D.C. Fire & Rescue to George Washington University Hospital.

25. Plaintiff's decedent had massive uterine bleeding and went into

disseminated intravascular coagulation (DIC).

26. On May 29, 2010, plaintiff's decedent Rebecca Carey Charland died.
27. | The autopsy performed on the plaintiffs decedent showed that the
microscopic examination of the lungs was consistent with the presence of squamous

cells, lanugo hair, and fat (fetal debris).

28. At all times relevant hereto defendant Washington Surgi-Clinic, Inc.,

individually, and through their respective employees and real and/or ostensible agents,
Case 1:22-cr-OO0@RSEKK Document 342-1 Filed 08/09 Page 6 of 13

including but not limited to, the individually named defendants; defendant Cesare F.
Santangelo, M.D., individually, and as employee and/or agent, real and/or ostensible, of
defendant Washington Surgi-Clinic, Inc., and defendant Cheryl V. Lynch, CRNA,
individually and as an employee and/or agent real and/or ostensible, of defendant
Washington Surgi-Clinic, Inc., were negligent in their care and treatment of decedent

Rebecca Carey Charland by, including, but not limited to, the following particulars:

(a) Failed to treat and care for Rebecca Carey Charland adequately and
completely under the circumstances existing;

(b) Failed to respond to the complaints, signs and symptoms of Rebecca Carey
Charland;

(c) Failed to consider the medical risks to which Rebecca Carey Charland was
particularly susceptible, including but not limited to, disseminated
intravascular coagulation and hemorrhage;

(d) Failed to make proper diagnoses;

(e) Failed to carry out the proper medical procedures;

(f) Failed to administer appropriate and proper treatment;

(g) Failed to make proper differential diagnoses; and

(h) Failed to advise Rebecca Carey Charland of the risks to which she was

particularly susceptible;

(i) Failed to advise Rebecca Carey Charland that (a) the D&E procedure could

be done in a hospital setting; (b) given her medical history, including antiphospholipid
syndrome, use of Lovenox and aspirin, and the fetal demise had occurred 2+ weeks prior

that it would be safer for her to undergo the D&E procedure in a hospital setting; and (c)

Dr. Santangelo did not have any hospital privileges and could not perform the D&E in a

hospital setting;
Case 1:22-cr-O0096-CKK Document 342-1 Filed 08/05/23 Page 7 of 13
(j) Failed to refer Rebecca Carey Charland to a physician that could perform

the D&E procedure in a hospital setting;
(k) Failed to obtain lab work, including but not limited to, PT, PTT, INR,

prior to performing the D&E procedure;

(1) Failed to perform appropriate resuscitation efforts, including but not

limited to compressions;
(m) Failed to timely call 911;

(n) Plaintiff also relies on res ipsa loquitur and lack of informed consent; and

(0) defendants were otherwise negligent.

29. As a direct and proximate result of the aforementioned negligence of the
defendants, decedent Rebecca Carey Charland, suffered pain and suffering, neurological
injuries, bodily injuries, disabilities, mental anguish, apprehension of impending death,
disfigurement, deformities, inconvenience and discomfort, and died on May 29, 2010.

30. | The claim for damages of plaintiff's decedent Rebecca Carey Charland,
occasioned by the injuries aforesaid, including an allowance for prospective loss of
earnings during her normal life expectancy, the medical expenses incurred relating to her
treatment May 19, 2010 through May 29, 2010, burial expenses, an allowance for pain
and suffering, and the aforementioned injuries, passed under the Survival Act of the
District of Columbia to the plaintiff as Personal Representative of the Estate of Rebecca
Carey Charland, deceased.

WHEREFORE, plaintiff Philip Charland, as Personal representative of the Estate
of Rebecca Carey Charland, deceased, demands judgment against defendants,

Washington Surgi-Clinic, Inc., Cesare F. Santangelo, M.D., and Cheryl V. Lynch,
Case 1:22-cr-O0096-CKK Document 342-1 Filed 08/05/23 Page 8 of 13
CRNA, jointly and severally, in the full sum of Twenty Million Dollars ($20,000,000.00),

plus costs and interest.
COUNT II
(Wrongful Death Act Claims on Behalf of Spouse and Minor Children)

1-30. Plaintiff Philip Charland, individually and on behalf of decedent’s minor
children and heirs, M.M.C. and P.D.C., incorporates by reference the numbered
paragraphs 1-30 of Count I as paragraphs | through 30 of Count II.

31. Asa direct and proximate result of defendants’ negligence, plaintiff Philip
Charland and M.M.C. and P.D.C., minors, have been injured and damaged, including, but
not limited to, pecuniary loss, the value of lost support, lost care, education, training,
guidance, parental advice, and services caused by decedent’s death.

WHEREFORE, plaintiff Philip Charland, individually and on behalf of
decedent’s minor children and heirs, M.M.C. and P.D.C., demands judgment against
defendants, Washington Surgi-Clinic, Inc., Cesare F. Santangelo, M.D. and Cheryl V.
Lynch, CRNA, jointly and severally, in the full sum of Twenty Million Dollars
($20,000,000.00) for Philip Charland, the full sum of Twenty Million Dollars
($20,000,000.00) for M.M.C., and the full sum of Twenty Million Dollars

($20,000,000.00) for P.D.C., plus costs and interest.

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HARLOW CASE #270645
Case 1:22-cr-O0096-CKK Document 342-1 Filed 08/05/23 Page 9 of 13

SANDRA ROBINSON #386469 Ad

S/he
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#367196

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E. EVANS #426067
JACK H. OLENDER & ASSOCIATES, P.C.
888 17" Street, N.W., 4” Floor
Washington, D.C. 20006
(202) 879-7777
Attorneys for Plaintiff

MELISSA

And

MELISSA G. RAY # 485809 ;

NICHOLS ZAUZIG SANDLER P
12660 Lake Ridge Drive
Woodbridge, Virginia 22192
(703) 492-4200

Attorneys for Plaintiff

REQUEST FOR JURY TRIAL

Plaintiff requests a trial by jury as to all issues so triable

Lp

CIVIL DIVISION
500 Indiana Avenue, N.W., Suite $000
Washington, D.C. 20001 Telephone: (202) 879-1133

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» Individually, and as Personal Representative
of the Estate of REBECCA CAREY CHARLAND, deceased, and as Father
and Next Friend to M.M.C. and P.D.C., minors

14773 Keavy Ridge Court Plaintiff
Haymarket, VA 20169

VS.

Case Numba 1) 9 Ao f j i

CESARE F., SANTANGELO, M.D.

Washington Surgi-Clinic, Inc. Defendant
2112 F Street, N.W.

Suite 400/401

Washington, DC 20037 SUMMONS

To the above named Defendant: CESARE F. SANTANGELO, M.D.

You are hereby summoned and required to serve an Answer to the attached Complaint, either
personally or through an attorney, within twenty (20) days after service of this summons upon you, exclusive
of the day of service. If you are being sued as an officer or agency of the United States Government or the
District of Columbia Government, you have sixty (60) days after service of this summons to serve your
Answer. A copy of the Answer must be mailed to the attorney for the party plaintiff who is suing you. The
attorney’s name and address appear below. If plaintiff has no attorney, a copy of the Answer must be mailed
to the plaintiff at the address stated on this Summons.

You are also required to file the original Answer with the Court in Suite 5000 at 500 Indiana Avenue,
N.W., between 8:30 a.m. and 5:00 p.m., Mondays through Fridays or between 9:00 a.m. and 12:00 noon on
Saturdays. You may file the original Answer with the Court either before you serve a copy of the Answer on
the plaintiff or within five (5) days after you have served the plaintiff. If you fail to file an Answer, judgment
by default may be entered against you for the relief demanded in the complaint.

Jack H. Olfnder, Esq.
Jack H.Olender & Associates, P.C. Clerk of the Court

Name of Plaintiff's Attomey
888 17th Street, N.W., 4th Floor

By -
Address NT Deputy Clerk
Washington, DC 20006

(202) 879-7777 Date S| 2 Lk { 24/ [

Telephone {
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IMPORTANT: IF YOU FAIL TO FILE AN ANSWER WITHIN THE TIME STATED ABOVE, OR IF, AFTER YOU
ANSWER, YOU FAIL TO APPEAR AT ANY TIME THE COURT NOTIFIES YOU TO DO SO, A JUDGMENT BY DEFAULT
MAY BE ENTERED AGAINST YOU FOR THE MONEY DAMAGES OR OTHER RELIEF DEMANDED IN THE
COMPLAINT. IF THIS OCCURS, YOUR WAGES MAY BE ATTACHED OR WITHHELD OR PERSONAL PROPERTY OR
REAL ESTATE YOU OWN MAY BE TAKEN AND SOLD TO PAY THE JUDGMENT. IF YOU INTEND TO OPPOSE THIS

ACTION, DO NOT FAIL TO ANSWER WITHIN THE REQUIRED TIME.

If you wish to talk to a lawyer and feel that you cannot afford to pay a fee to a lawyer, promptly contact one of the offices of the
Legal Aid Society (202-628-1161) or the Neighborhood Legal Services (202-682-2700) for help or come to Suite 5000 at 500

Indiana Avenue, N.W., for more information concerning places where you may ask for such help.

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CIVIL DIVISION
500 Indiana Avenue, N.W., Suite 5000
Washington, D.C. 20001 Telephone: (202) 879-1133

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HAK » Individually, and as Personal Representative
of the Estate of REBECCA CAREY CHARLAND, deceased, and as Father
and Next Friend to M.M.C. and P.D.C., minors

14773 Keavy Ridge Court Plaintiff
Haymarket, VA 20169 0004244-11

= Case Number

WASHINGTON SURGI-CLINIC, INC.

Serve: R/A, Cesare F. Santangelo, M.D. Defendant
2112 F Street, N.W.
Suite 400/401
Washington, DC 20037 SUMMONS

To the above named Defendant: wasHINGTON SURGI-CLINIC, INC.

You are hereby summoned and required to serve an Answer to the attached Complaint, either
personally or through an attorney, within twenty (20) days after service of this summons upon you, exclusive
of the day of service. If you are being sued as an officer or agency of the United States Government or the
District of Columbia Government, you have sixty (60) days after service of this summons to serve your
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the plaintiff or within five (5) days after you have served the plaintiff. If you fail to file an Answer, judgment
by default may be entered against you for the relief demanded in the complaint.

Jack H. Olender, Esq.
Jack H. Olender & Associates, P.C.

Name of Plaintiff's Attorney

888 17th Street, N.W., 4th Floor

Address
Washington, DC 20006

(202) 879-7777

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500 Indiana nn N.W.,, Suit
Washington, D.C. 20001 Telephone: (202) 7 1133

H HARLAND, Individually, and as Personal Representative
of the Estate of REBECCA CAREY CHARLAND, deceased. and as Father
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& -—

Plaintiff

14773 Keavy Ridge Court
Raymarket, VA 20169

vs: Case Number, ,p acs tat ih
tre ta
CHERYL V. LYNCH, CRNA
2400 Riverview Drive Defendant
#295
Colonial Beach, VA 22443
SUMMONS

To the above named Defendant: gageyr, y, LYNCH, CRNA

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Jack H. Olender, Esq.

Jack B. Olender & Associates, P.C. Clerk o
Name of Plaintiff's Attorney
888 17th Street, N.W., 4th Floor By ~
Address XW _ Deputy Clerk }

Washington, DC 20006

(202) 879-7777 Date dS lp z( 2) | /

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Superior Court of the District of Columbia
CIVIL DIVISION - CIVIL ACTIONS BRANCH

INFORMATION SHEET
PHILIP CHARLAND, et al. 5 -
Case Number! 004244 11
VS Date:
ES SUITE: ERG, O One of the defendants is being sued
in their official capacity.

Name: (please print) Relationship to Lawsuit

Jack H. Olender ¥) Attorney for Plaintiff
Firm Name:

Jack H. Olender & Associates, P.C. CI Setf Pro Se)
Telephone No.: Six digit Unified Bar No.:

(202) 879-7777 9563

TYPE OF CASE: O) Non-Jury & 6 Person Jury O 12 Person Jury
Demand:$ _80,000,000.00 Other:

PENDING CASE(S) RELATED TO THE ACTION BEING FILED
Case No.: Judge: Calendar #:

Case No.: Judge: Calendar #:

NATURE OF SUIT: (Check One Box Only)

A. CONTRACTS COLLECTION CASES
O 01 Breach of Contract C1 07 Personal Property C1) 14 Under $25,000 Pitf. Grants Consent
1 02 Breach of Warranty C 09 Real Property-Real Estate (1 16 Under $25,000 Consent Denied
(0 06 Negotiable Instrument CO] 12 Specific Performance 00 17 OVER $25,000 Pitf. Grants Consent
0 15
B. PROPERTY TORTS
0 01 Automobile C 03 Destruction of Private Property (1) 05 Trespass
( 02 Conversion (1 04 Property Damage 0 06 Traffic Adjudication

(J 07 Shoplifting, D.C. Code § 27-102(a)

C. PERSONAL TORTS
0) 01 Abuse of Process C) 09 Har assment (117 Personal Injury — (Not Automobile,
0 02 Alienation of Affection O10 Invasion of Privacy Not Malpractice)
0 03 Assault and Battery C) 11 Libel and Slander (118 Wrongful Death (Not malpractice)
(1 04 Automobile-Personal Injury | 0 12 Malicious Interference (119 Wrongful Eviction
CO 05 Deceit (Misrepresentation) | LO 13 Malicious Prosecution (120 Friendly Suit
01 06 False Accusation 14 Malpractice Legal (121 Asbestos
DD 07 False Arrest 15 Malpractice Medical dnctuding wrongful dean) {122 Toxic/Mass Torts
0 08 Fraud C1) 16 Negligence-(Not Automobile, (23 Tobacco
Not Malpractice) [124 Lead Paint

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CV-496/October 2010
